8:12-cr-00313-JFB-FG3          Doc # 155     Filed: 07/19/13      Page 1 of 6 - Page ID # 461



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                                                   CASE NUMBER: 8:12CR313-003
                      Plaintiff,
                                                   USM Number: 24944-047
       vs.

ENRIQUETA BATIZ,                                   ADAM J. SIPPLE
                                                   DEFENDANT’S ATTORNEY
                      Defendant.


                             JUDGMENT IN A CRIMINAL CASE
                   (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT pleaded guilty to count III of the Superseding Indictment on April 25, 2013.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense:

      Title, Section & Nature of Offense           Date Offense Concluded        Count Number

18:1001 FALSE DOCUMENT SUBMITTED BY                      June 26, 2008                  III
U.S. GOVERNMENT AGENCY

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Counts I and VII of the Superseding Indictment are dismissed on the motion of the United
States as to this defendant only.

Following the imposition of sentence, the Court advised the defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within fourteen (14) days of
this date pursuant to Fed. R. App. P. 4.

The defendant shall cooperate in the collection of DNA, pursuant to Public Law 108-405
(Revised DNA Collection Requirements under the Justice for All Act of 2004).

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                            Date of Imposition of Sentence:
                                                            July 19, 2013

                                                            s/ Joseph F. Bataillon
                                                            United States District Judge

                                                            July 19, 2013
8:12-cr-00313-JFB-FG3         Doc # 155     Filed: 07/19/13     Page 2 of 6 - Page ID # 462
Defendant: ENRIQUETA BATIZ                                                            Page 2 of 6
Case Number: 8:12CR313-003


                             ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ________________,
20___.

                                                          _____________________________
                                                                Signature of Defendant

                                          RETURN

It is hereby acknowledged that the defendant was delivered on the ___ day of _____________,
20____ to ______________________________________, with a certified copy of this
judgment.

                                                          _____________________________
                                                                UNITED STATES WARDEN

                                                          BY: _________________________

NOTE: The following certificate must also be completed if the defendant has not signed
the Acknowledgment of Receipt, above.

                                       CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day
of ______________, 20____.

                                                          _____________________________
                                                                UNITED STATES WARDEN

                                                          BY: __________________________




                                              2
8:12-cr-00313-JFB-FG3          Doc # 155      Filed: 07/19/13       Page 3 of 6 - Page ID # 463
Defendant: ENRIQUETA BATIZ                                                                Page 3 of 6
Case Number: 8:12CR313-003


                                          PROBATION

The defendant is hereby sentenced to probation for a term of two (2) years.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

The defendant shall refrain from any unlawful use of a controlled substance. The defendant
shall submit to one drug test within 15 days of release from imprisonment and at least two
period drug tests thereafter.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

       If this judgment imposes a fine or a restitution obligation, it shall be a condition of
probation that the defendant pay any such fine or restitution in accordance with the Schedule of
Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

        The defendant shall comply with the standard conditions that have been adopted by this
court (set forth below). The defendant shall also comply with any additional conditions.


                        STANDARD CONDITIONS OF SUPERVISION

1.      The defendant shall not leave the judicial district without the permission of the court or
        probation officer;
2.      The defendant shall report to the probation officer in a manner and frequency directed by
        the court or probation officer.
3.      The defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      The defendant shall support his or her dependents and meet other family
        responsibilities;
5.      The defendant shall work regularly at a lawful occupation, unless excused by the
        probation officer for schooling, training, or other acceptable reasons;
6.      The defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      The defendant shall refrain from excessive use of alcohol and shall not purchase,
        possess, use, distribute, or administer any controlled substance or any paraphernalia
        related to any controlled substances, except as prescribed by a physician;
8.      The defendant shall not frequent places where controlled substances are illegally sold,
        used, distributed, or administered;
9.      The defendant shall not associate with any persons engaged in criminal activity and
        shall not associate with any person convicted of a felony, unless granted permission to
        do so by the probation officer;
10.     The defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;



                                                 3
8:12-cr-00313-JFB-FG3            Doc # 155     Filed: 07/19/13     Page 4 of 6 - Page ID # 464
Defendant: ENRIQUETA BATIZ                                                                 Page 4 of 6
Case Number: 8:12CR313-003


11.     The defendant shall notify the probation officer within seventy-two hours of being
        arrested or questioned by a law enforcement officer;
12.     The defendant shall not enter into any agreement to act as an informer or a special
        agent of a law enforcement agency without the permission of the court;
13.     As directed by the probation officer, the defendant shall notify third parties of risks that
        may be occasioned by the defendant’s criminal record or personal history or
        characteristics and shall permit the probation officer to make such notifications and to
        confirm the defendant’s compliance with such notification requirement.

                             SPECIAL CONDITIONS OF SUPERVISION

1.      The defendant shall cooperate in the collection of DNA as directed by the probation
        officer, pursuant to the Public Law 108-405 (Revised DNA Collection Requirements
        Under the Justice for All Act of 2004),if such sample was not collected during
        imprisonment.

2.      The defendant shall submit his or her person, residence, office, or vehicle to a search
        conducted by a United States Probation Officer at any time; failure to submit to a search
        may be grounds for revocation; the defendant shall warn any other residents that the
        premises may be subject to searches pursuant to this condition.

3.      The defendant shall complete 80 hours of community service as approved and directed
        by the probation officer. The defendant shall be responsible for providing the probation
        officer with written proof of the number of hours completed.

4.      The defendant shall pay a fine in the amount of $5,000.00 to the Clerk of the U.S.
        District Court, 111 S. 18th Plaza, Suite 1152, Omaha, Nebraska 68102-1322. This
        amount is due 30 days following sentencing for the instant offense. The defendant shall
        be responsible for providing proof payment to the probation officer as directed.

5.      The defendant shall provide the probation officer with access to any requested financial
        information.

6.      The requirement of 18 U.S.C. § 3563(a)(5) regarding drug testing within fifteen (15) days
        of release on probation and at least two (2) periodic drug tests thereafter, is suspended
        until further order of the Court because the Presentence Investigation Report on the
        defendant and other reliable sentencing information indicates a low risk of future
        substance abuse by the defendant.

7.      The defendant shall report to the Supervision Unit of the U.S. Probation Office for the
        District of Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 111 South 18th
        Plaza, Suite C79, Omaha, Nebraska, (402) 661-7555, within seventy-two (72) hours of
        being placed on probation or release from confinement and, thereafter, as directed by
        the probation officer.




                                                 4
8:12-cr-00313-JFB-FG3          Doc # 155      Filed: 07/19/13     Page 5 of 6 - Page ID # 465
Defendant: ENRIQUETA BATIZ                                                                Page 5 of 6
Case Number: 8:12CR313-003


                             CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth in this judgment.

      Total Assessment                     Total Fine                     Total Restitution

            $100.00                         $5,000.00

The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that interest requirement is waived.


                                              FINE

A fine in the amount of $5,000.00 is imposed and is due and payable immediately.

The defendant shall pay interest on any fine or restitution of more than $2,500, unless the or
restitution is paid in full before the fifteenth day after the date of the judgment, pursuant to 18
U.S.C. § 3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for delinquency and default pursuant to 18 U.S.C. § 3612(g).

                                         RESTITUTION

No restitution imposed.


                                SCHEDULE OF PAYMENTS

The defendant shall pay the special assessment in the amount of $100.00 immediately.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is
obligated to pay said sum immediately if he or she has the capacity to do so. The United States
of America may institute civil collection proceedings at any time to satisfy all or any portion of
the criminal monetary penalty.

Without limiting the foregoing, and during the defendant’s term of incarceration, the defendant
shall participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such
Program, the defendant shall pay 50% of the available inmate institutional funds per quarter
towards the criminal monetary penalty.

Without limiting the foregoing, and following release from prison, the defendant shall make
payments to satisfy the criminal monetary penalty in the following manner: (a) monthly
installments of $100 or 3% of the defendant’s gross income, whichever is greater; (b) the first
payment shall commence 30 days following the defendant’s discharge from incarceration, and
continue until the criminal monetary penalty is paid in full; and (c) the defendant shall be
responsible for providing proof of payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the
following order of priority: special assessment; restitution; fine; and other penalties. Unless
otherwise specifically ordered, all criminal monetary penalty payments, except those payments

                                                5
 8:12-cr-00313-JFB-FG3                 Doc # 155         Filed: 07/19/13   Page 6 of 6 - Page ID # 466
Defendant: ENRIQUETA BATIZ                                                                     Page 6 of 6
Case Number: 8:12CR313-003


made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be
made to the clerk of the Court. Unless otherwise specifically ordered, interest shall not accrue
on the criminal monetary penalty.

All financial penalty payments are to be made to the Clerk of the U. S. District Court, 111 S.
18th Plaza, Suite 1152, Omaha, NE 68102-1322 or Clerk of the U. S. District Court, 100
Centennial Mall North, 593 Federal Building, Lincoln, NE 68508.

The defendant shall receive credit for all payments previously made toward any criminal
monetary penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly
payment amount, as ordered by the court.

The defendant is restrained from transferring any real or personal property, unless it is
necessary to liquidate and apply the proceeds of such property as full or partial payment of the
criminal monetary penalty.




CLERK'S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk




                                                             6
